                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         DOCKET NO. 3:07-CR-211-MR-DCK

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
            v.                      )                       ORDER
                                    )
VICTORIA L. SPROUSE,                )
                                    )
                  Defendant.        )
____________________________________)

       THIS MATTER IS BEFORE THE COURT consistent with the Court’s “Order”

(Document No. 104) directing that the Federal Defender appoint new counsel for the Defendant,

Victoria L. Sprouse. Pending notification of the Court by the Federal Defender that new counsel had

been obtained, the Court in that Order declined to address the question of the withdrawal of Ms.

Sprouse’s previous counsel, Anderson Terpening PLLC. The Court is now informed that attorney

Lisa Costner has now been appointed to represent Ms. Sprouse, and accordingly, the Court is now

free to address the question of the withdrawal of Anderson Terpening PLLC. The Court will now

allow the withdrawal.

       IT IS THEREFORE ORDERED that Andersen Terpening PLLC will now be deemed

withdrawn from representation of Ms. Sprouse in this matter. Attorney Lisa Costner will be

representing Ms. Sprouse.

       IT IS FURTHER ORDERED that attorneys and staff of Anderson Terpening PLLC shall

take all reasonable steps to ensure a smooth transition between counsel for Ms. Sprouse.




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  SO ORDERED.



                                 Signed: October 29, 2008




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